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                          IN THE UNITED STATES DISTRICT COURT FOR
                           THE EASTERN DISTRICT OF PENNSYLVANIA
                  - -- - - - - - - - - - - -
    UNITED STA TES OF AMERICA,               )
                                             )
    ex rel. SARAH BEHNKE,
                                                       )
                                                       )       Civil Action No. 2:14-cv-00824 MSG
                            Plaintiff-Relator,
                                                       )
                                                       )
                   v.                                  )
                                                       )
    CVS CAREMARK                                       )
    CORPORATION, eta!.,                                )
                                                       )
                            Defendants.                )
                                                       )
                                          ____         )

                          JOINT STIPULATION AND (PHOPOSED] ORDER

           Relator Sarah Behnke ("Relator"), by and through her undersigned attorneys, and CVS

Caremark Corp., Caremark Rx, L.L.C. (flk/a Caremark Rx, Inc.) 1, CaremarkPCS Health, L.L.C.,

and Silverscript Insurance Company ("Defendants"), by and through their undersigned attorneys,

hereby stipulate and agree as follows:

           1.      Relator has notified Defendants that she is not pursuing claims under the Anti-

Kickback Statute ("AKS"), as pied in Paragraphs 166-67 of the Complaint (Dkt. # 1), intends to

seek dismissal of the claims under the AKS without prejudice, and intends to seek written consent

to the dismissal thereof from the Attorney General.

           2.      Defendants' time to answer or move to dismiss the Complaint shall be extended by

three days from July 31, 2018 to August 3, 2018.

           WHEREFORE, the parties respectfully request that the Court endorse and enter this Joint

Stipulation.



1
    The Complaint names this party as CVS Caremark Rx, L L.C. (f/k!a Caremark Rx. Inc.)
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Dated: July 31, 2018                       Respectfully submitted,



BERGER & MONTAGUE, P.C.                 WILLIAMS & CO::\;-..JOLL Y LLP

-~
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Counsel for Relator                     Counsel for Defendants




SO ORDERED.

Date:   ~ u....,,:/- /1 ~_1>/ f
